                                     Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 1 of 18
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I. (a) PLAINTIFFS                                                                                                     DEFENDANTS
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         RELATED CASE, IF ANY:

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         C!Vll cases are deemed related when Yes is answered to any oftbe followmg questions

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         I,           ~ _t( f C~"- b,..-4 ,                       counsel of record or pro se plamtiff, do hereby certify

               f'1?T    Pursuant to Local Civil Rule 53 2, § 3(c) (2), that to the best ofmy knowledge and belief, the damages recoverable m this c1v1J action case
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         Civ 609 (5,'2018)
                      Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 3 of 18


,_ · ~t . l.-:·:.G              ,;, IN THE UNITED STATES DISTRICT COURT
                               F~R THE EASTERN DISTRICT OF PENNSYLVANIA
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                              CASE MANAGEMENT TRACK DESIGNATION FORM
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           In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
           plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
           filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
           side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
           designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
           the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
           to which that defendant believes the case should be assigned.
           SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
           (a) Habeas Corpus- Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )
           (b) Social Security - Cases requesting review of a decision of the Secretary of Health
               and Human Services denying plaintiff Social Security Benefits.                                 ( )
           (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )
           (d) Asbestos - Cases involving claims for personal injury or property damage from
               exposure to asbestos.                                                                           ( )
           (e) Special Management- Cases that do not fall mto tracks (a) through (d) that are
               commonly referred to as complex and that need special or intense management by
               the court. (See reverse side of this form for a detailed explanation of special
               management cases.)

           (t) Standard Management - Cases that do not fall into any one of the other tracks.         .     (!)( )




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              Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 4 of 18




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                            J.. THE UNITED STATES DISTRICT COURT
                       .: f'oR THE EASTER~ DISTRICT OF PE~~SYLVANIA


    FRANK BARTELL,
    STAN GILBERT, and                                              Civil Action No.
    ARLENE J. CANEY,
                                                                   COMPLAINT
                             Plaintiffs,

                      v.
                                                                        19            6058
    COMMUNITY COLLEGE OF
    PHILADELPHIA
    1700 Spring Garden Street
    Philadelphia, PA 19130,                                 JURY TRIAL DEMANDED

    DR. DO'.\JALD GUY GENERALS,
    PRESIDE~T OF COMMUNITY
    COLLEGE OF PHILADELPHIA

    and,

    JOH'.\J A~D JANE DOES 1 THROUGH
    10 all whose true names are unknown,

                             Defendants.


                                                COMPLAINT

       I. PRELIMINARY STATEMENT

             1.       Plaintiffs, Frank Bartell, Stan Gilbert and Arlene J. Caney (hereinafter

    "Plaintiffs") bring this action under the Age Discrimination in Employment Act (ADEA), 29

    C.S.C. §621 et seq., the Older Workers Benefit Protection Act (OWBPA), 29 C.S.C. §626 et

    seq., the Pennsylvania Human Relations Act (PHRA), 43 P.S. §954 et seq., and the Americans
          Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 5 of 18




with Disabilities Act (ADA), 42 U.S.C. §12101, et seq. against Defendants Community College

of Philadelphia, Donald Generals, and John and Jane Does I through IO (hereinafter

"Defendants") for eliminating Plaintiffs' positions, doubling Plaintiffs' workload and/or forcing

retirement, and failing to provide and/or eliminating accommodation for a disability. Plaintiffs

seek reinstatement, equitable relief, compensatory damages, costs and attorney fees from

Defendants.


II.     THE PARTIES


        2.      Plaintiff, Frank Bartell, is an adult individual and citizen of the Commonwealth of

Pennsylvania, residing in Philadelphia County.

        3.      Plaintiff, Stan Gilbert, is an adult individual and citizen of the Commonwealth of

Pennsylvania, residing in Montgomery County.

        4.      Plaintiff, Arlene J. Caney, is an adult individual and citizen of the Commonwealth

of Pennsylvania, residing in Philadelphia County.

        5.      Plaintiffs are older than 40 years of age.

        6.      Upon information and belief, Defendant Community College of Philadelphia, is a

Pennsylvania non-profit academic and research institution organized under the laws of the

Commonwealth of Pennsylvania that directed, managed, controlled and employed, at all relevant

times, Plaintiffs.

        7.      Upon information and belief, Defendant Dr. Donald Guy Generals is an adult

individual and citizen of the Commonwealth of Pennsylvania.

        8.      Defendant Dr. Generals is President of Defendant Community College of

Philadelphia.
            Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 6 of 18




          9.     Upon information and belief, Defendants John and Jane Does 1 through 10 are

individuals whose names and addresses of residence are unknown.

          10.    At all times material hereto, the conduct of Defendants as enumerated within this

Complaint occurred within the County of Philadelphia and within the Eastern District of

Pennsy Ivania.

III.      JURISDICTION AND VENUE

          11.    Jurisdiction over this action is conferred on this Court by 28 U .S.C. § 1331 and

§ 1343.

          12.    Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C.

§1391.

          13.    At all times material hereto, the Community College of Philadelphia employed

more than fifty (50) employees.

          14.    At all times material hereto, the Community College of Philadelphia was an

"employer" as defined by the ADEA, 28 U.S.C. §630.

          15.    At all times material hereto, the Community College of Philadelphia was an

"employer" as defined by the ADA, 42 C.S.C. §12101, et seq.

          16.    At all times material hereto, the Community College of Philadelphia was an

"employer" as defined by §§4 and 5 of the Pennsylvania Human Relations Act, 43 P.S. §954 et

seq.

          17.    At all times material hereto, Plaintiffs were employed by the Community College

of Philadelphia and assigned to work at the Community College of Philadelphia located within

the Eastern District of Pennsylvania.
         Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 7 of 18



       18.      Plaintiffs have complied with all administrative and jurisdictional prerequisites

and were all issued a Notice of Right to Sue by the Equal Employment Opportunity Commission

dated September 23, 2019, thereby exhausting administrative remedies for all claims in this

Complaint.

IV.     FACTUAL BACKGROUND

       19.      Plaintiff Bartell has been employed by Defendant Community College of

Philadelphia as a member of its faculty since the 1970s.

       20.      Plaintiff Gilbert has been employed by Defendant Community College of

Philadelphia as a member of its faculty since 1977.

       21.      Plaintiff Caney has been employed by Defendant Community College of

Philadelphia as a member of its faculty since 1976.

                                The Pre-Retirement Workload Options

       22.      Plaintiffs' terms and conditions of employment provided a benefit known as the

Pre-Retirement Workload Options, which allowed full-time faculty members older than 55 years

of age who met certain requirements to elect to take one of two positions that reduced workload,

but still provided full-time benefits.

       23.      Cnder the first Pre-Retirement Workload Option (the "Indefinite Pre-Retirement

Position"), qualifying full-time faculty members could elect to take a position that reduced

workload and salary by half, but still provided full-time benefits.

       24.      Full-time benefits include, among other benefits, health insurance coverage for

family members, which is a benefit that is not available upon retirement.

       25.      Once the Indefinite Pre-Retirement Position was selected, a faculty member was

permitted to work a reduced schedule with full benefits indefinitely.
         Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 8 of 18




      26.      Under the second Pre-Retirement Workload Option (the '"Step-Down Position"),

qualifying full-time faculty members could elect to take a three-year position that reduced

workload by 25% per year, until retirement in year four, but still provided full-time benefits for

those three years and full-time salary for two years.

                                           Age Discrimination

      27.      In 2016, Plaintiff Bartell chose the Indefinite Pre-Retirement Position, entitling

Plaintiff to a reduced workload by half and full-time benefits indefinitely, including health

insurance coverage for family members among other benefits.

      28.      In 2016, Plaintiff Gilbert chose the Indefinite Pre-Retirement Position, entitling

Plaintiff to a reduced workload by half and full-time benefits indefinitely, including health

insurance coverage for family members among other benefits.

      29.      In 2018, Plaintiff Caney chose the Indefinite Pre-Retirement Position, entitling

Plaintiff to a reduced workload by half and full-time benefits indefinitely, including health

insurance coverage for family members among other benefits.

      30.      In April 2019, Defendants sent a letter notifying each Plaintiff that the Indefinite

Pre-Retirement Position would be eliminated and demanding that Plaintiff either retire or take a

new position with double the workload.

      31.      In effect, the letter invited each Plaintiff to select which adverse action the

employer should take -- forced retirement or increased workload.

      32.      Defendants presented Plaintiffs with a Faculty Workload Selection Sheet and

required Plaintiffs to make a signed election.

      33.      Plaintiffs elected the option of forced, or constructively forced, retirement after

three years of what had been the Indefinite Pre-Retirement Position.
         Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 9 of 18




      34.      Plaintiff Bartell selected forced retirement, which assigned retirement on or

before August 31, 2020.

      35.      Plaintiff Gilbert selected forced retirement, which assigned retirement on or

before August 31, 2020.

      36.      Plaintiff Caney selected forced retirement, which assigned retirement on or before

August 31, 2021.

      37.      No one under the age of 40 was forced to retire.

      38.      No one under the age of 40 had their workload increased.

      39.      Defendants intentionally eliminated the positions that had been awarded to

employees through the Pre-Retirement Workload Options.

      40.      Defendants eliminated the Indefinite Pre-Retirement Position and Step-Down

Position to intentionally remove older employees. Defendants' policy is based on negative

stereotypes and assumptions about older workers.

      41.      Defendants' elimination of the Indefinite Pre-Retirement Position and the Step-

Down Position had the effect of forcing out older employees who were not willing or able to

double their workload, such as Plaintiffs, who were constructively forced to retire.

      42.      Defendants' elimination of the Indefinite Pre-Retirement Position and Step-Down

Position had the effect of doubling the workload of older employees.

      43.      Defendants intentionally endeavored to eliminate positions that allowed for a

reduced workload.

      44.      upon information and belief, Defendants believed that the makeup of the faculty

was too old and intentionally endeavored to have a younger faculty. The allegations of this
          Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 10 of 18




paragraph will likely have evidentiary support after a reasonable opportunity for further

investigation and/or discovery.

         45.      Defendants willfully violated the Age Discrimination in Employment of 1967, as

amended.

         46.      Defendants' act of eliminating the Indefinite Pre-Retirement Position and Step-

Down Position had a disparate impact on older employees.

         47.      As a proximate result of Defendants' age discrimination, Plaintiffs were deprived

of the opportunity to earn wages and deprived of the opportunity to earn employment benefits.

                           Disability Discrimination Suffered By Plaintiff Bartell

         48.      Plaintiff Bartell suffers from chronic knee pain and uses a cane to walk at all

times.

         49.      Plaintiff Bartell's condition substantially restricts major life activities like

walking, standing, and sitting for long periods of time.

         50.      Plaintiffs condition is visible and known to Defendant Community College of

Philadelphia.

         51.      By selecting the Indefinite Pre-Retirement Workload, the reduced workload was a

sufficient accommodation for Plaintiffs condition that allowed him to continue to work despite

his disability.

         52.      Elimination of the Indefinite Pre-Retirement Workload deprives Plaintiff of his

accommodation and Defendants never provided a further accommodation.
        Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 11 of 18



                                        COGNTI
Gnlawful Intentional Age Discrimination (Disparate Treatment) in Violation of the ADEA,
     29 t;.S.C §621 et seq., Against Defendant Community College of Philadelphia

       53.      Plaintiffs hereby incorporate by reference all of the aforementioned paragraphs as

if fully set forth at length herein.

       54.      The ADEA makes it unlawful for an employer to take an adverse action against

an individual because of such individual's age.

       55.      Plaintiffs were older than 40 at the time the Indefinite Pre-Retirement Position

was eliminated.

       56.      Plaintiffs' positions were eliminated by Defendant Community College of

Philadelphia because of age because the parameters of the position to be eliminated were defined

by age, that is - eliminating a position that could only be held by those 55 and older.

       57.      Defendants' violations of the ADEA were intentional and willful.

       58.      As a direct and proximate result of the foregoing violations of the ADEA,

Plaintiffs have sustained economic and non-economic damages, including but not limited to,

denial of wages and other benefits.

        WHEREFORE, Plaintiffs seek a determination that Defendant Community College of

Philadelphia violated the Age Discrimination in Employment Act, 29 U.S.C §621 et seq., and

request all damages and relief permitted under the Age Discrimination in Employment Act, 29

lJ.S.C §621 et seq., including but not limited to: back pay and front pay; equitable relief;

injunctive relief including but not limited to reinstatement and barring future discriminatory

conduct; attorneys' fees, expert fees, costs and expenses; and such other additional relief as this

Court deems just and fair.
        Case 2:19-cv-06056-MSG Document 1 Filed 12/20/19 Page 12 of 18




                                           COUNT II
             Unlawful Use of a Policy Having Disparate Impact on Employees Over 40
                  Years of Age in Violation of the ADEA, 29 U.S.C §621 et seq.
                     Against Defendant Community College of Philadelphia

       59.       Plaintiffs hereby incorporate by reference all of the aforementioned paragraphs as

if fully set forth at length herein.

       60.       The ADEA prohibits employers form using facially age-neutral policies that have

a significant disparate impact on workers over the age of 40, such as Plaintiffs.

       61.       Eliminating the Indefinite Pre-Retirement Position and the Step-Down Position

had a significant adverse disparate impact on Plaintiffs and other employees over the age of 40 in

violation of the ADEA.

       62.       Of those adversely affected by the policy, 100% were over the age of 40.

       63.       :'Jo one under the age of 40 was adversely affected by the policy by being forced

to retire or increase his or her workload.

       64.       Cpon information and belief, 28 employees were adversely affected by the

elimination of the Indefinite Pre-Retirement Position and the Step-Down Position.

       65.       Upon information and belief, approximately 15% the age range disparately

impacted by this policy (55 years and older) suffered an adverse employment action of either

forced retirement or increased workload.

       66.       Defendants' stated reasons other than age for the policy eliminating the Indefinite

Pre-Retirement Position and the Step-Down Position by forcing retirement or increasing

workload (that the Pre-Retirement Option was costly and inconsistent with the College's "'full-

time faculty" philosophy) were pretextual and patently false.
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      67.      The Indefinite Pre-Retirement Position was less costly because those in the

Indefinite Pre-Retirement Position received half the salary of their counterparts who had a full

workload.

      68.      Even if the Indefinite Pre-Retirement Option was costly, which it is not,

Defendants' stated reason would only speak to removing the option - not the elimination of the

positions of those who had selected the option in the past, whose positions rightfully should have

been grandfathered.

      69.      Furthermore, targeting faculty positions with reduced workloads for removal is a

pretext and a proxy for the oldest faculty members who are among the only employees who have

qualified for a reduced load precisely because of their age.

      70.      As a direct and proximate result of the foregoing violations of the ADEA,

Plaintiffs have sustained economic and non-economic damages, including but not limited to,

denial of wages and other benefits.

       WHEREFORE, Plaintiffs seek a determination that Defendant Community College of

Philadelphia violated the Age Discrimination in Employment Act, 29 C.S.C § 621 et seq., and

request all damages and relief permitted under the Age Discrimination in Employment Act, 29

U.S.C § 621 et seq., including but not limited to: back pay and front pay; equitable relief;

injunctive relief including but not limited to reinstatement and barring future discriminatory

conduct; attorneys' fees, expert fees, costs and expenses; and such other additional relief as this

Court deems just and fair.
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                                           COUNT III
             Declaratory Relief for Violation of the OWBPA, 29 U.S.C. § 626 et seq.
                    Against Defendant Community College of Philadelphia

       71.      Plaintiffs hereby incorporate by reference all of the aforementioned paragraphs as

if fully set forth at length herein.

       72.      Upon information and belief, Defendant Community College of Philadelphia

believes that elimination of Plaintiffs' positions did not violate the ADEA, in part, because the

elimination of the position and the acceptance of another position has been agreed to. In other

words, the Defendant believes that claims stemming from the elimination of the position were

waived by agreement.

       73.       In eliminating the Indefinite Pre-Retirement Position and the Step-Down

Position, Defendant did not procure a valid waiver of any employment claims.

       74.      Collective Bargaining and any agreement with the Faculty & Staff Federation of

the Community College of Philadelphia, Local 2026, AFT, FLO-CIO ("the Federation") cannot

serve as a waiver of ADEA claims because any such agreement failed to comply with the

OWBPA.

       75.       Similarly, the signed Faculty Workload Selection Sheet cannot serve as a waiver

of ADEA claims because any such agreement failed to comply with the OWBP A.

       76.      Agreements with the Federation and the signed Faculty Workload Section Sheet

violated the OWBPA because they (a) did not give Plaintiffs enough time to consider available

options (b) did not give Plaintiffs seven days after signing to make a change, (c) gave no

instruction to consult an attorney before signing, and (d) made no specific reference to claims

under the AD EA.
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       77.       An OWBPA violation under these circumstances may give rise to a right of action

for declaratory or injunctive relief designed to invalidate an ADEA waiver to effectuate the

enforcement provisions of both the ADEA and the OWBPA.

        WHEREFORE, Plaintiffs seek a determination that Defendant Community College
                                                                             /
                                                                                    of

Philadelphia violated the Older Workers Benefits Protection Act, 29 C.S.C § 623 et seq., and

declaratory or equitable relief to, invalidate any purported waiver of claims under the ADEA,

nullify the forced retirement date, and enjoin the enforcement of such retirement date; and such

other additional relief as this Court deems just and fair.

                                           COUNTIV-
             Violation of the Pennsylvania Humana Relations Act, 43 P.S. §954, et seq.
                                      Against All Defendants


       78.        Plaintiffs hereby incorporate by reference all of the foregoing paragraphs as if

fully set forth at length herein.

       79.       The PHRA makes it unlawful for an employer to take an adverse action against an

individual because of such individual's age.

       80.        Plaintiffs' positions were eliminated by Defendant Community College of

Philadelphia because of age because the parameters of the position to be eliminated were defined

by age - eliminating a position that could only be held by those 55 and older.

       81.        Defendant College's violations of the PHRA were intentional and willful.

       82.        At all times materiel hereto, Defendant Dr. Generals aided and abetted Defendant

Community College of Philadelphia's discrimination against Plaintiffs and used his authority

and/or apparent authority as a supervisory employer to aid and abet Defendant Community

College of Philadelphia in taking adverse employment action against Plaintiffs because of

Plaintiffs' age and disability.
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      83.       At all times materiel hereto, Defendants John and Jane Does 1 through 10 aided

and abetted Defendant Community College of Philadelphia's discrimination against Plaintiffs

and used their authority and/or apparent authority as a supervisory employer to aid and abet

Defendant Community College of Philadelphia in taking adverse employment action against

Plaintiffs because of Plaintiffs' age and disability.

       84.      Furthermore, eliminating the Indefinite Pre-Retirement Position and the Step-

Down Position had a significant adverse disparate impact on Plaintiffs and other employees over

the age of 40 in violation of the PHRA.

       85.      As a direct and proximate result of the foregoing violations of the PHRA,

Plaintiffs have sustained economic and non-economic damages, including but not limited to,

denial of wages and other benefits.

       WHEREFORE, Plaintiffs seek a determination that Defendants violated the Pennsylvania

Human Relations Act, 43 P.S. §954, et seq., and request all damages and relief permitted under

the Pennsylvania Human Relations Act, 43 P.S. §954, et seq., including but not limited to: back

pay and front pay; equitable relief; injunctive relief including but not limited to reinstatement and

barring future discriminatory conduct; attorneys' fees, expert fees, costs and expenses; and such

other additional relief as this Court deems just and fair.

                                           COL'NTV
                         Violation of the ADA, 42 U.S.C. §12101, et seq.
               Plaintiff Bartell v. Defendant Community College of Philadelphia


       86.      Plaintiff hereby incorporates by reference all of the foregoing paragraphs as if

fully set forth at length herein.

       87.      Plaintiff was a member of the class of persons with eligible disabilities entitled to

protection from unlawful discriminatory acts, hostile work environment, harassment, retaliation,
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and termination pursuant to the Americans with Disabilities Act, 42 U.S.C. §12101. et seq.,

because of Plaintiffs serious medical condition and/or disability as set forth above.

      88.      At all times material hereto, Defendant was aware of Plaintiffs Bartell medical

condition and/or disability.

      89.      At all times material hereto, Plaintiff was qualified for his job with Defendants

and was fully capable of performing all of the essential functions of his position with or without

reasonable accommodations.

      90.      At all times material hereto, Plaintiff was performing his job satisfactorily with or

without accommodation.

      91.      Defendant discriminated against Plaintiff because of his medical conditions

and/or disability by subjecting Plaintiff to forced retirement, constructively terminating him

because he is unable to increase his workload.

       92.     Defendant discriminated against Plaintiff because of his medical conditions

and/or disability by refusing to consider and/or provide Plaintiff with a reduced workload as a

reasonable accommodation.

        WIIEREFORE, Plaintiff Bartell seeks a determination that Defendant Community

College of Philadelphia violated the Americans with Disabilities Act, 42 U.S.C. §12101, et seq.

and requests all damages and relief permitted under the ADA, including but not limited to: back

pay and front pay; equitable relief; injunctive relief including but not limited to reinstatement and

barring future discriminatory conduct; attorneys' fees, expert fees, costs and expenses; and such

other additional relief as this Court deems just and fair.
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                                       JURY DE.'.VIA~D


       Plaintiffs demand a jury to hear and decide all issues of fact in accordance with Federal

Rule of Civil Procedure 38(b).




Dated: December 20, 2019                            Respectfully submitted,




                                                   ~~
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                                                    Benjamin Speciale, Esquire

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